AO 435                                               Administrative Office of the United States Courts                    FOR COURT USE ONLY
(Rev. 04/1                                                      TRANSCRIPT ORDER                                          DUE DATE:
Please Read Instructions:
1. NAME                                                                             2. PHONE NUMBER                       3. DATE

4. MAILING ADDRESS                                                                  5. CITY                               6. STATE       7. ZIP CODE

8. CASE NUMBER                                9. JUDGE                                                         DATES OF PROCEEDINGS
                                                                                    10. FROM                                11.
12. CASE NAME                                                                                                LOCATION OF PROCEEDINGS
                                                                                    13. CITY                               14.
15. ORDER FOR
     APPEAL                                          CRIMINAL                              CRIMINAL JUSTICE ACT               BANKRUPTCY
     NON-APPEAL                                      CIVIL                                 IN FORMA PAUPERIS                  OTHER (Specify)
16. TRANSCRIPT REQUESTED (Specify portion(s) and date(s) of proceeding(s) for which transcript is requested)
                 PORTIONS                                       DATE(S)                          PORTION(S)                           DATE(S)
     VOIR DIRE                                                                             TESTIMONY (Specify Witness)
     OPENING STATEMENT (Plaintiff)
     OPENING STATEMENT (Defendant)
     CLOSING ARGUMENT (Plaintiff)                                                          PRE-TRIAL PROCEEDING (Spcy)
     CLOSING ARGUMENT (Defendant)
     OPINION OF COURT
     JURY INSTRUCTIONS                                                                     OTHER (Specify)
     SENTENCING
     BAIL HEARING
                                                                               17. ORDER
                           ORIGINAL                                 ADDITIONAL
CATEGORY         (Includes Certified Copy to Clerk   FIRST COPY                            NO. OF PAGES ESTIMATE                       COSTS
                     for Records of the Court)
                                                                      COPIES
                                                                    NO. OF COPIES
 ORDINARY        $3.65 p
                                                                    NO. OF COPIES
   14-Day        $4.25
                                                                    NO. OF COPIES
 EXPEDITED       $4.85
                                                                    NO. OF COPIES
    3-Day        $5.45
                                                                    NO. OF COPIES
   DAILY         $6.05
                                                                    NO. OF COPIES
  HOURLY         $7.25

REALTIME         Call for info
                     CERTIFICATION (18. & 19.)
           By signing below, I certify that I will pay all charges                   ESTIMATE TOTAL
                        (deposit plus additional).
18. SIGNATURE                                                                       PROCESSED BY

19. DATE                                                                            PHONE NUMBER

TRANSCRIPT TO BE PREPARED BY                                                        COURT ADDRESS




                                                        DATE              BY
ORDER RECEIVED

DEPOSIT PAID                                                                        DEPOSIT PAID

TRANSCRIPT ORDERED                                                                  TOTAL CHARGES

TRANSCRIPT RECEIVED                                                                 LESS DEPOSIT
ORDERING PARTY NOTIFIED
TO PICK UP TRANSCRIPT                                                               TOTAL REFUNDED

PARTY RECEIVED TRANSCRIPT                                                           TOTAL DUE
                           Case 1:18-cv-00007-HRH Document 59 Filed 02/20/20 Page 1 of 2
             DISTRIBUTION:             COURT COPY            TRANSCRIPTION COPY     ORDER RECEIPT            ORDER COPY
AO 435
                                                       INSTRUCTIONS
(Rev. 04/11)
                                                          GENERAL

Use. Use this form to order the transcription of proceedings. Complete a separate order form for each case number for which
transcripts are ordered.

Completion. Complete Items 1-19. Do not complete shaded areas, which are reserved for the court’s use.

Order Copy. Keep a copy for your records.

Submitting to the Court. Submit the form in the format required by the court.

Deposit Fee. The court will notify you of the amount of the required deposit fee which may be mailed or delivered to the
court. Upon receipt of the deposit, the court will process the order.

Delivery Time. Delivery time is computed from the date of receipt of the deposit fee or for transcripts ordered by the federal
government from the date of receipt of the signed order form.

Completion of Order. The court will notify you when the transcript is completed.

Balance Due. If the deposit fee was insufficient to cover all charges, the court will notify you of the balance due which must
be paid prior to receiving the completed order.

                                                           SPECIFIC

Items 1-19.    These items should always be completed.
Item 8.        Only one case number may be listed per order.
Item 15.       Place an “X” in each box that applies.
Item 16.       Place an “X” in the box for each portion requested. List specific date(s) of the proceedings for which transcript
               is requested. Be sure that the description is clearly written to facilitate processing. Orders may be placed for as
               few pages of transcript as are needed.
Item 17.       Categories. There are six (6) categories of transcripts which may be ordered. These are:
                  Ordinary. A transcript to be delivered within thirty (30) calendar days after receipt of an order. (Order is
                  considered received upon receipt of the deposit.)
                  14-Day. A transcript to be delivered within fourteen (14) calendar days after receipt of an order.
                  Expedited. A transcript to be delivered within seven (7) calendar days after receipt of an order.

                 Daily. A transcript to be delivered following adjournment and prior to the normal opening hour of the court
                 on the following morning whether or not it actually is a court day.
                 Hourly. A transcript of proceedings ordered under unusual circumstances to be delivered within two (2)
                 Realtime. A draft unedited transcript produced by a certified realtime reporter as a byproduct of realtime to be
                 delivered electronically during proceedings or immediately following adjournment.
NOTE: Full price may be charged only if the transcript is delivered within the required time frame. For example, if an order
for expedited transcript is not completed and delivered within seven (7) calendar days, payment would be at the 14-day
delivery rate, and if not completed and delivered within 14 calendar days, payment would be at the ordinary delivery rate.
               Ordering. Place an “X” in each box that applies. Indicate the number of additional copies ordered.
                     Original. Original typing of the transcript. An original must be ordered and prepared prior to the
                     availability of copies. The original fee is charged only once. The fee for the original includes the copy
                     for the records of the court.
                     First Copy. First copy of the transcript after the original has been prepared. All parties ordering copies
                     must pay this rate for the first copy ordered.
                     Additional Copies. All other copies of the transcript ordered by the same party.
Item 18.       Sign in this space to certify that you will pay all charges. (This includes the deposit plus any additional
               charges.)
Item 19.       Enter the date of signing.

Shaded Area. Reserved for the court’s use.



                   Case 1:18-cv-00007-HRH Document 59 Filed 02/20/20 Page 2 of 2
